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 8
                            UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                Case No. 20cr2115-LAB
                 Plaintiff,
12
           v.                                 I N F O R M A T I O N
13
     GINA CHAMPION-CAIN,                      18 U.S.C. § 371 – Conspiracy
14
                 Defendant.                   15 U.S.C. §§ 77q, 77x – Securities
15
                                              Fraud
16
                                              18 U.S.C. § 1505 – Obstruction of
17
                                              Justice
18

19

20        The United States Attorney charges, at all times material:

21                                      BACKGROUND

22                              Defendant and Her Companies

23        1.    Defendant Gina Champion-Cain was a resident of San Diego,

24   California.   Defendant owned, managed, and/or controlled a significant

25   number of small businesses located, and that operated, in San Diego.

26        2.    American    National    Investments,    Inc.   (“American    National

27   Investments”)   was    a    California    corporation   based    in   San   Diego.

28   Defendant was the founder and CEO of American National Investments.

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 1   American National Investments was a real estate development company,

 2   and the parent company of a large number of small businesses, which

 3   operated primarily in the real estate, retail, and restaurant sectors.

 4        3.     ANI Development, LLC (“ANI Development”), was a California

 5   limited liability company located in San Diego, and a subsidiary of

 6   American National Investments.       Defendant was the managing member of

 7   ANI Development.     ANI Development’s business consisted primarily of

 8   running a fake lending program (the “Lending Program”) surrounding the

 9   transfer of California liquor licenses, as described more fully below.

10                    Liquor License Transfers in California

11        4.     Under California law, an applicant who wished to purchase a

12   California liquor license from an existing licensee was required to

13   place in an escrow account an amount of money equal to the purchase

14   price of the license.

15        5.     This escrow account was required to be established and funded

16   within 30 days of applying for the license, and the money deposited

17   was required to be maintained in escrow until the California Department

18   of Alcoholic Beverage Control (the “ABC”) either (a) approved the

19   application and the purchase of the license was completed, or (b)

20   declined the application, at which point the escrowed funds were

21   returned to the depositor.

22                                      COUNT 1

23                          CONSPIRACY – 18 U.S.C. § 371

24        6.     Beginning at least as early as 2012, and continuing until

25   September   2019,   within   the   Southern   District    of   California   and

26   elsewhere, Defendant Gina Champion-Cain knowingly and intentionally

27   conspired and agreed with others to: (1) commit securities fraud, in

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 1   violation of 15 U.S.C. §§ 77q and 77x; and (2) obstruct justice, in

 2   violation of 18 U.S.C. § 1505.

 3          7.   The purposes of the conspiracy included:

 4               a.        obtaining hundreds of millions of dollars from investors

 5   and using that money to (i) pay back previous investors, and (ii) pay

 6   for Defendant’s personal and business expenses, instead of investing

 7   that   money     in     loans   to   liquor   license   applicants,       as   Defendant

 8   represented to investors; and

 9               b.        avoiding detection of the fraudulent scheme by the FBI

10   and United States Securities and Exchange Commission (“SEC”).

11                            Manner and Means of the Conspiracy

12          8.   To further the conspiracy, Defendant and her co-conspirators

13   used the following manner and means, among others:

14               a.        Beginning in or around 2012, Defendant would solicit

15   investments from investors in the Lending Program based on a series of

16   misrepresentations.         For example, Defendant told investors, including

17   on the phone and by email, that:

18                      i.      Many applicants who wished to acquire a California

19               liquor license did not have sufficient funds to deposit the

20               license’s full purchase price in an escrow account for the

21               time      period    that   the    ABC   takes   to   review    a    transfer

22               application.        Because of their lack of liquid funds, these

23               applicants were willing to pay relatively high rates of

24               interest on short-term loans that would fund the escrow

25               account.

26                    ii.       Through Defendant and her entities, including ANI

27               Development, investors could fund high interest rate loans to

28               liquor license applicants.

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 1                   iii.        Investor     funds      would    be    maintained      in   escrow

 2              accounts that were associated with specific liquor license

 3              applications, and the investor funds could not be withdrawn

 4              from such escrow accounts except by the investor who deposited

 5              the funds after the ABC accepted or declined the corresponding

 6              transfer application.

 7              b.      Defendant and her co-conspirators would accept hundreds

 8   of millions of dollars of investments into the Lending Program from

 9   hundreds of individual and institutional investors located throughout

10   the United States.

11              c.      Defendant and her co-conspirators, however, would not

12   place investor funds in the Lending Program, which was completely

13   fictitious.

14              d.      Defendant       and   her       co-conspirators         would   forge    the

15   signatures    of   escrow      company    employees         on    escrow    agreements     that

16   purportedly controlled the receipt, maintenance, and distribution of

17   investor funds, but that were never actually operative.

18              e.      Defendant would lie about investor funds being tied to

19   specific liquor license loan applications, when she knew that investor

20   funds were pooled in large, general purpose escrow accounts that were

21   not connected to specific liquor license loan applications.

22              f.      Defendant would misrepresent to investors that she would

23   invest their funds in the Lending Program.                   Instead of directing that

24   investor funds be used in connection with the transfer of any liquor

25   licenses, Defendant and her co-conspirators would (i) use incoming

26   investor   funds       to   make   principal       and   interest     payments      based   on

27   investments that could soon be redeemed in the Lending Program, and

28   (ii) embezzle investor funds to finance and support some of Defendant’s

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 1   and American National Investments’ other businesses (some of which were

 2   failing), and to fund Defendant’s lifestyle.

 3               g.     Defendant and her co-conspirators would make efforts to

 4   conceal her fraudulent scheme.           For example, Defendant would dissuade

 5   investors from contacting escrow company employees about the Lending

 6   Program, and would dissuade escrow company employees from answering

 7   questions from investors.

 8               h.     Defendant    and     her       co-conspirators   would    forge    and

 9   otherwise falsify a large number of documents related to the Lending

10   Program.

11               i.     Defendant would lie, and instruct others to lie, to

12   auditors working on behalf of investors.                    Among other things, these

13   auditors    were   attempting     to    confirm       the    investors’   balances    and

14   activity in the Lending Program.

15               j.     Defendant would establish phony email accounts so that

16   investors   would    think     they    were       corresponding   with    other   parties

17   involved, or supposedly involved, in the Lending Program.                     Defendant

18   would use these email accounts to answer questions posed by investors

19   and confirm investor balances on deposit with the Lending Program, and

20   otherwise convince investors that the Lending Program was legitimate.

21               k.     Defendant    and    her    co-conspirators       would   destroy    or

22   conceal emails, documents, video surveillance footage, and accounting

23   records that they knew would provide evidence of the fraudulent scheme

24   surrounding the Lending Program.

25                                          Overt Acts

26        9.     In furtherance of this conspiracy, and to carry out its

27   objects, the following overt acts, among others, were committed within

28   the Southern District of California and elsewhere:

                                                   5
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 1                a.     On or about March 20, 2015, Defendant sent an email to

 2   an escrow company employee regarding an investor who attempted to

 3   contact the escrow company about a recent deposit.                      Defendant’s email

 4   stated, in part, “I have always promised you I would shelter you from

 5   my crazy investors and I will continue to do so.                    If any one of them

 6   bug you as they are too stupid to understand the program, they are

 7   ‘fired’ as an investor.             I have plenty of dudes dying to give me money,

 8   honey!!! Ahahahahahahahaha. :-D Love you ladies!”

 9                b.     On       or   about    July     13,   2017,    Defendant      solicited

10   investments in the Lending Program by emailing to an investor (i) a

11   fabricated list of purported liquor license applicants who were looking

12   for funding, and (ii) a forwarded email that Defendant wrote about the

13   Lending Program that was purportedly drafted by an attorney who had

14   experience with liquor license applications.

15                c.     On or about July 18, 2017, Defendant sent an email to

16   an escrow company employee regarding an investor attempting to contact

17   the escrow company about the Lending Program.                           Defendant’s email

18   stated, in part, “I told them NEVER to call and bother you ladies,”

19   and “if they call asking about escrow agreements and alcohol licenses,

20   blah, blah, blah … just say ‘SURE WHATEVER NOW SHOW ME THE MONEY …

21   HAHAHAHA.’”

22                d.     On or about April 17, 2018, Defendant and an employee

23   of the escrow company exchanged emails about whether Defendant should

24   be   present      for    a   call   with   an     investor   in   the   Lending   Program.

25   Defendant concluded that her presence was not required: “no need love

26   as I am sure you will just brush them off quickly.”

27                e.     On or about April 25, 2018, Defendant sent an email

28   instructing a co-conspirator to provide wiring information to an escrow

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 1   company employee in order to transfer investor funds from an escrow

 2   company account to the account of one of Defendant’s business entities.

 3              f.    On or about May 31, 2019, a co-conspirator sent an email

 4   to a bank representative attaching a fabricated statement for one of

 5   Defendant’s brokerage accounts in connection with a line of credit.

 6              g.    In or around July 2019, in response to a subpoena issued

 7   by the SEC, Defendant instructed information systems personnel at

 8   American National Investments to refrain from producing to the SEC

 9   electronic calendar, messaging, and trash files, even though such files

10   should have been produced in response to the subpoena.            As Defendant

11   knew, many of these materials were incriminating.

12   ALL IN VIOLATION OF 18 U.S.C. § 371.

13                                      COUNT 2

14                    SECURITIES FRAUD, 15 U.S.C. §§ 77q, 77x

15        10.   Paragraphs 1 through 5 above are re-alleged as if fully set

16   forth herein.

17        11.   Beginning at least as early as 2012, and continuing until

18   early 2020, within the Southern District of California and elsewhere,

19   Defendant Gina Champion-Cain willfully and knowingly, directly and
     indirectly, by the use of the means and instruments of transportation
20
     and communication in interstate commerce and by use of the mails, in
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     connection with the offer and sale of securities associated with loans
22
     made to California liquor license applicants, did employ a device,
23
     scheme, and artifice to defraud; obtain money and property by means of
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     untrue statements of material facts and omissions to state material
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     facts necessary in order to make the statements made, in light of the
26
     circumstances under which they were made, not misleading; and engaged
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 1   in transactions, practices, and courses of business which operated and

 2   would operate as a fraud or deceit upon the purchaser.

 3        12.   Paragraphs    8    through   9   of   Count   1   are   realleged   and

 4   incorporated by reference as more fully describing the fraudulent

 5   devices,    schemes,     artifices,         untrue   statements,      omissions,
     transactions, and courses of business used in connection with the offer
 6
     and sale of securities.
 7
     ALL IN VIOLATION OF 15 U.S.C. §§ 77q, 77x.
 8
                                         COUNT 3
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                     OBSTRUCTION OF JUSTICE, 18 U.S.C. § 1505
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          13.   Paragraphs 1 through 5 and 8 through 9 above are re-alleged
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     as if fully set forth herein.
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          14.   Beginning in or around July 2019, and continuing until at
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     least September 2019, Defendant Gina Champion-Cain did corruptly impede
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     and endeavor to influence, obstruct, and impede the due and proper
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     administration of the law under which a pending proceeding was being
16   had before the United States Securities and Exchange Commission, an
17   agency of the United States.
18   ALL IN VIOLATION OF 18 U.S.C. §1505.
19                                FORFEITURE ALLEGATIONS
20        15.   The allegations contained in paragraphs 1-5 and Counts 1-3
21   of this Information are re-alleged and incorporated by reference for
22   the purpose of alleging forfeiture to the United States pursuant to

23   Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

24   States Code, Section 2461(c).

25        16.   Upon conviction of the offenses set forth in Counts 1-3,

26   Defendant Gina Champion-Cain shall forfeit to the United States any
     property, real and personal, which constitutes or is derived from
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     proceeds traceable to the violations.
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 1        17.    Pursuant to Title 28, United States Code, Section 2461(c)

 2   which incorporates the provisions of Title 21, United States Code,

 3   Section 853(p), Defendant shall forfeit substitute property, up to the

 4   value of the amounts described above, if, as a result of any act or

 5   omission of the Defendant, the property described above, or any portion
     thereof, cannot be located upon the exercise of due diligence; has been
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     transferred, sold to, or deposited with a third party; has been placed
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     beyond     the   jurisdiction   of   this   court;   has   been   substantially
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     diminished in value; or has been commingled with other property which
 9
     cannot be divided without difficulty.
10
     ALL PURSUANT TO Title 18, United States Code, Section 981(a)(1)(C) and
11
     Title 28, United States Code, Section 2461(c).
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13

14        DATED: July 21, 2020               ROBERT S. BREWER, JR.
15                                           United States Attorney

16

17                                           ________________________________
                                             AARON P. ARNZEN
18                                           ANDREW J. GALVIN
19                                           Assistant United States Attorneys

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